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                      UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            SHERMAN DIVISION

MORINVILLE, )                                       Case No. 20-cv-00980
                          )
      Plaintiff, )
                          )
      v.              )
                          )
OVERWATCH )
TECHNOLOGIES, INC. ET )
AL.,                   )
                          )
      Defendants. )



                PLAINTIFF S MOTION TO AMEND COMPLAINT

                                 EXHIBIT A




                                      ie
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                            Application for In-principle Advice
                                     (ASX Listing Rules 1.1 condition 1 an 1.19)
      Name of entity ABN/ARB /ARSN/ACN

         Rision Li ited                                                                     090 671 819

    We (the entity named above) supply the following infor ation and documents to support our application
    for in-principle advice in connection with our suitability for admission to the official list of ASX Limited
    (ASX) as an ASX Listing under ASX Listing Rules 1.1 condition 1 and 1.19.1

    Note: Terms used in this Form have the same meaning as in the ASX Listing Rules.

    Instructions: please complete each applicable item below. If an item is not applicable, please mark it as A". If the item i being
    addressed by an attachment, please indicate the number of the attachment.


    Corporate details2

      Place of incorporation or                        Rision Ltd (ASXiRNL): Perth, Western Australia ( Rision")
      establishment
                                                       Overwatch Digital Health Inc: Texas, USA ( Overwatch")
                                                       BioEye, Ltd.: Hofit, Israel ( BioEye )

      Date of incorporation or                         RNL: Incorporated on 24 November 1999 in Australia.
      establishment
                                                       Overwatch: Incorporated as SAE Digital Health, Inc. on 7 January 2019 in Texas (see
                                                       attached Certificate of Formation). On 1 February 2019, a certificate of a end ent was
                                                       filed with the Texas Secretary of State to change the entity na e from SAE Digital Health,
                                                       Inc. to Overwatch Digital Health, Inc. (see attached Certificate of Amendment).
                                                       BioEye: Incorporated 17 January 2017 in Israel (see attache Articles of Association).
                                                       BioEye s research and development efforts started prior to incorporation going back to
                                                       February 2014.

      If the applicant is a trust, name of             N/A
      responsible entity and place and
      date of incorporation or
      establishment of responsible
      entity

      Ad ress and telephone number of                  RNL: Level 24,44 St Georges Terrace, Perth A 6000
      registered office in place of
                                                      Telephone: 08 6211 5099
      incorporation or establishment
                                                       Overwatch: 17440 Dallas Parkway, Suite 230, Dallas, Texas 75287, USA
                                                      Telephone: +61 (214)449-2187
                                                      BioEye: 8 HaTsedef St, Hofit, 4029500, Israel
                                                      Telephone: +972-545666683

        ddress and telephone number of                 N/A
      principal administrative office (if
      different from registered office)



         ASX will provide the a plicant with in- rinciple ad ice on the application of Listing Rule 1.1 condition 1 and Listing Rule 1.19. For further information on
         seeking in-principle advice from ASX please refer to Gui ance Note 1 Appl ing for Admission - ASX Listin s.
    2 If the entity is a stapled structure, please provide these details for each entity comprising the stapled structure. If this application relates to a back door
          listing of another entity, please pro ide these details both for the entity that is currently listed and for the entity that is being back door listed.


    Application for in-principle advice - ASX Listing ules 1.1 condition 1 and 1.19 (31/03/17)                                                                Page 1
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       Website URL                                       RNL: Under construction
                                                         Overwatch: https://overwatchdh.com/
                                                         BioEye: https://bioeve.com/




     Directors and management3

       Fuil na e, title and brief bios of                Proposed Chief Executive Officer - Terry Fokas (see below for bio).
       CEO/managing director and other
       senior executives

       Full name, title and brief bio of the             Emmanuel Correia - Proposed Chairman of the Board of Directors. In the alternative,
       proposed chairperson of                           an individual with prior ASX Board of Directors experience (potentially, but not limited to,
      directors.                                         Clive Barrett). See below for bios of Messrs. Correia and Barrett.
      State whether the chairperson will be an
      executive or non-executive director and, if
      the latter, whether he/she will be
      inde endent4




         The details provided here should be for the irectors and management of the entity (or, if the entity is a trust, of the responsible entity of the trust) as they
         are proposed to be at the date the entity is admitted (or, in the case of a back door listing, re-admitte ) to the official list. In each case, the brief bios for
         each person should cover their experience (if any) in directing or managing an ASX listed entity and in directing or anaging an entity with the ty e of
         business the entity will have at the time of admission (or, in the case of a back door listing, re-ad ission).
         Within the meaning of the ASX Corporate Governance Council s guidelines on independence.


    Ap lication for in-principle ad ice - ASX Listing Rules 1.1 condition 1 and 1.19 (31/03/17)                                                                    Page 2
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      Full names and brief bios of all                            Existin Directors (all to resign coincidin with RTO completion)
      other directors and proposed
                                                      Adam Sierakowski - Non-Executive Chair an - Independent
      directors.
      State in each case whether he/she will be       Mr Sierakowski is a lawyer and founding director of the legal firm Price Sierakowski. He
      an executive or non-executive director
      and, if the latter, hether he/she will be
                                                      has more than 20 years of experience in legal practice, uch of which he has spent as a
      independent5                                    corporate lawyer, consulting and advising on a range of transactions to a variety of large
                                                      private and listed public entities. He has advised and guided any co panies undertaking
                                                      fundraising activities in Australia and seeking to list on the ASX.
                                                      As the co-founder of Trident Capital, Mr Sierakowski has also advised a variety of public
                                                      and private clients on the structuring of their transactions and has been engaged in co¬
                                                      ordinating fundraising both domestically and overseas. He has vast experience in
                                                      restructuring and mergers and acquisitions and has played a key role in the
                                                      recapitalisation of many ASX-listed co panies.
                                                      Adam is currently also a director of Connected IO Ltd (CIO), Dragontail Systems Ltd
                                                      (DTS), Kinetiko Energy Ltd (KKO) and Coziron Resources Ltd (CZR).
                                                      John Gilfillan - Non-Executive Director - Independent
                                                      John Gilfillan has worked in the Financial Services for the last 24 years including operating
                                                      and owning his own practice for the last 18 years. He has also consulted to various
                                                      corporate advisors and been involved in numerous ASX transactions. John is an
                                                      experienced Company Director having been involved in both technology and resource
                                                      sectors. John was a Non-Executive Director of Swala Energy (ASX: SWE), now Symbol
                                                      Mining (ASX: SL1) fro 27 April 2017 to 18 Dece ber 2017, a Non-Executive Director of
                                                      Assemblebay Ltd (ASX : ASY), now Scandivanadium (ASX: SVD) fro 19 November
                                                      2015 till 13 Nove ber 2018 and Empire Oil & Gas NL (ASX: EGO) since March 20 2018
                                                      and is a director of public unlisted Company First Class Financial Group.
                                                      Sean McCor ick - Non-Executive Director - Independent
                                                      Sean McCormick (BEc (Hons), LLB) is an Associate at Trident Capital, hich provides
                                                      corporate advisory services to ASX listed companies across a wide spectrum of
                                                      industries, including the resources and technology sectors and is experienced in advising
                                                      on initial public offerings, seed capital, mergers & acquisitions and reverse takeovers. He
                                                      has been a Non-Executive Director of ASX listed co panies that have required
                                                      turnaround and restructuring: Empire Oil & Gas NL (ASX: EGO) since 20 March 2018,
                                                      Swala Energy Ltd (ASX: SWE), now Symbol Mining Ltd (ASX: SL1) from 27 April 2017 to
                                                      18 Dece ber 2017 and Hughes Drilling Ltd (ASX: HDX) fro 16 August 2017 to 19
                                                      September 2019. Sean has previously worked in the restructuring division of a big four
                                                      professional services firm and prior to that as an associate advisor for a national
                                                      Australian stockbroker.


                                                                          Proposed Directors (effective upon RTO completion)
                                                      Terry Fokas - Proposed Executive Director & Chief Executive Officer
                                                       r. Fokas has o er 20 years experience in software and intellectual property enforcement
                                                      and licensing and has successfully concluded licensing transactions with may Fortune
                                                      100 technology and product companies, including, Oracle Corporation, Google, Ford
                                                      Motor Company, Yahoo, SAP and Microsoft Corporation.
                                                        r. Fokas is the founder and president of Parallel Networks, LLC, a patent licensing and
                                                      technology company based in Dallas, Texas. Prior to founding Parallel Networks, Mr.
                                                      Fokas was a corporate finance attorney at the law firms of Brobeck Phleger & Harrison,
                                                      LLP (Dallas, Texas) and Milbank, Tweed Hadley & McCloy, LLC (New York, NY)
                                                      specializing in mergers and acquisitions, public and private equity and debt financing
                                                      transactions and various U.S. Securities Exchange matters including registration of public
                                                      offerings of securities, 1934 Act reporting requirements and proxy solicitation matters.
                                                      Mr. Fokas received his Bachelor of Science in Business Management and Economics
                                                      fro the State Uni ersity of New York, Empire State College in 1993, his Juris Doctorate
                                                      cum laude from St. John s University School of Law in 1997 and his Master of Laws (LLM)

    5 Within the meaning of the ASX Corporate Governance Council's guidelines on independence.


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                                                      with merit in international banking and finance law fro The London School of Economics
                                                      and Political Science at the University of London in 1999. Mr. Fokas is admitted to
                                                      practice law in Connecticut, New York and Texas as well as in the federal district courts
                                                      in the Northern and Eastern Districts of Texas
                                                     Mr E manuel Correia - Proposed Non-Executive Director

                                                      Mr Correia has over 25 years public company and corporate finance experience in
                                                      Australia, North America and the United Kingdom and is a co-founder of Peloton Capital
                                                      and Peloton Advisory. Emmanuel specialises in the provision of corporate advice in
                                                      relation to private and public capital raisings, mergers and acquisitions, corporate strategy
                                                      and structuring, initial public offerings, project and company valuations and corporate
                                                      governance.
                                                      Prior to co-founding Peloton Capital in June 2011, Mr Correia was the co-founder of
                                                      Cardrona Capital Pty Ltd, a boutique corporate finance and advisory firm which was sold
                                                      to an Australian based investment organisation. E manuel s previous e perience has
                                                      also seen him spend a number of years working in the corporate finance industry for
                                                      various organisations including J.P. Morgan & Co. (London), Deloitte Corporate Finance
                                                      and the Transocean Group in Australia Mr Correia is an experienced public company
                                                      director/officer and is currently a non-executive director of Canyon Resources Limited,
                                                      and Argent Minerals Limited. Mr Correia is also the Company Secretary of Bluglass
                                                      Limited. He is currently a substantial shareholder in Overwatch Digital Health Inc
                                                      ( Overwatch ).


                                                     Clive Barrett - Proposed Non-Executive Director
                                                        r Barrett is the Executive Chairman of First Class Financial Group, a franchised financial
                                                      services co pany that comprises of 200 Franchisees all over Australia.
                                                      Mr Barrett founded his first company in 1985 at the age of 26 and has had an
                                                      accomplished career as entrepreneur and investor ever since. He’s been actively involved
                                                      in the Direct Response Television Industry (DRTV) in Australia for more than 20 years,
                                                      building various companies. He’s also acted as an advisor to a number of businesses in
                                                      the marketing field, both in Australia and internationally. Over the years, he created a
                                                      range of DRT products that resulted in distribution in over 40 countries.
                                                      Mr Barrett has substantially supported and invested in a number of biomedical companies
                                                      internationally. He is currently the majority investor in Overwatch.
                                                      Mr Barret was also Executive Director of ASX listed company Multi Channel Solutions
                                                      Limited (ASX: MUT) (formerly Sun Capital Group Limited (SEE) and subsequently
                                                      Bronson Group Li ited (ASX: BGL) fro 17 Septe ber 2004 - 27 Nove ber 2007.


                                                      Willia Austin Lewis IV -Proposed Non-Executive Director (Independent)


                                                     Mr. Lewis founded and serves as the portfolio manager of Lewis Asset Management and
                                                     he is responsible for day to day investment decisions involving three separate investment
                                                     funds. Lewis Asset Management has Invested over $100 million in microcap technology
                                                     companies since its inception in 2004.

                                                     Prior to founding Lewis Asset Management, Mr. Lewis was a portfolio manager for Puglisi
                                                     and Company where he actively managed a small hedge fund which primarily owned
                                                     shares off emerging technology companies and he actively structure pri ate investments
                                                     in publicly traded entities.

                                                       r. Le is serves on the boards of directors of several private an public co panies,
                                                     including, MAM Software (Member of the Audit and Compensation Committee 2008-
                                                     Present)’ Shipti e, Inc. (2017 - Present) and Medite, Inc. (Chairman of the Audit
                                                     Co ittee 2016- 2017; Chair an of the Board 2017- Present)

                                                     Mr. Lewis is a graduate of James Madison University with a Bachelor of Business
                                                     Administration.

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      Are there concerns that a director               No.
      or proposed director of the entity
      may not eet ASX s good fame
      and character requirements?
      If yes, please provide details.

      Company secretary                                Nicki Fariey


    Corporate advisers6

      Legal counsel                                    Price Sierako ski Corporate

      Auditor7                                         BDO Perth

      Investigating accountant                         BDO Perth

      Lead manager / underwriter8                      Trident Capital Pty Ltd or other (to be confirmed). Not currently under ritten.




    6 If this application relates to a back door listing, provide details of the corporate ad isers for the entity and the entity/business being back door listed.
    7 Include the date the current auditor was appointed.
    8 Specify whether the person is lead manager or under riter and, if the latter, the extent of the under riting.


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    Business operations




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      Describe the entity s history9                 Rision Ltd.
                                                                                                   History
                                                     Rision, Ltd. ( Rision or the Company ) was incorporated on 24 November 1999 and
                                                     listed on the ASX on 31 February 2002. Since its incorporation, the Company has
                                                     primarily operated as technology company, and it developed a staff planning and rostering
                                                     platform that allows businesses to schedule staff in an efficient manner.
                                                     On 17 April 2018, the Company was suspended from official quotation on the ASX and
                                                     began a review of the viability of its existing business while also searching for potential
                                                     new opportunities to benefit the Company s shareholders.
                                                                             Proposed Transaction with Overwatch and BioEve
                                                     Rision intends to enter into a binding Heads of Agreement to acquire 100% of the issued
                                                     and outstanding share capital of Over atch Digital Health, Inc. ( Overwatch ). Overwatch
                                                     is an American-domiciled entity that evelope and is currently marketing a proprietary
                                                     software application which monitors users for epileptic seizures via an Apple smartwatch
                                                     and sends alerts and data to caregivers and/or emergency medical personnel and doctors
                                                     in the event that a seizure event is detected (the Overwatch App ). As a result of its
                                                     acquisition of BioEye, Ltd. ( BioEye ) (discussed more fully below), Overwatch is also
                                                     commercializing two products that provide medical personnel, coaches and athletes with
                                                     evidence of concussive brain injury and law enforcement authorities with evidence of
                                                     driver drug usage.

                                                                                                Overwatch App
                                                    The Overwatch App is a proprietary epilepsy monitoring, detecting and alerting solution
                                                    designed to dramatically improve the lives of indivi uals living with epilepsy and their
                                                    caregivers and to provide seizure event information to doctors so they can effectively
                                                    design epilepsy treatment options for their patients. The Overwatch App unobtrusively
                                                    monitors individuals with epilepsy 24 hours/day; seven days/week while they are wearing
                                                    their Apple smartwatch and sends near instant alerts to designated caregivers or to
                                                    medical personnel when an epilepsy seizure has been detected. In addition to this
                                                    monitoring, detecting and alerting functionality, the Overwatch App collects and stores
                                                    seizure event data so that doctors can remotely review seizure information (such as
                                                    frequency, duration and severity) in order to adjust patients treatment protocols or to
                                                    design new treatment options. The Overwatch App works on Apple Series 3 Watches (or
                                                    newer) that are enabled with GPS + cellular capability. Overwatch is also designing an
                                                    Android-based monitoring, detecting an alerting solution ith an anticipated release date
                                                    of Q3 2020 so that the Overwatch App will be able to work on both iOS and Android-
                                                     enabled smartwatches.

                                                                                Overwatch - BioEye History and Acquisition
                                                    BioEye is an Israeli-domiciled entity that was formed to develop eye-tracking technology
                                                    which could capture and analyse ocular biomarkers to identify individuals at risk for
                                                     neurodegenerative disease (e.g. Alzheimer’s, Dementia, Parkinson's Disease). In August
                                                    2019, Overwatch and BioEye commenced a technology collaboration effort to develop a
                                                    suite of products that utilized ocular biomarker analysis to detect changes in brain
                                                    function. In conjunction with this collaboration, Overwatch and BioEye integrated their
                                                    engineering and product development groups to further advance co mercialization
                                                    efforts of these products.
                                                    In addition, the extensive background and expertise of BioEye’s engineering team in
                                                    developing cutting edge machine learning and artificial intelligence algorithms was heavily
                                                    utilized by Overwatch to significantly increase the seizure detection accuracy of the
                                                    Overwatch App. As a result of BioEye’s machine learning acumen and the ongoing
                                                    development and commercialisation efforts between the two companies, Overwatch and
                                                    BioEye entered into an agreement in January 2020 for Overwatch to acquire all of the
                                                    issued and outstanding capital shares of BioEye. The closing of the Overwatch
                                                    acquisition of BioEye is scheduled to take place immediately prior to the closing of Rision’s
                                                    acquisition of Overwatch.




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    9 If this application relates to a back door listing, describe the history of the entity and the entity/business being back door listed.


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                                                     Overwatch Digital Health, Inc.
                                                                                                   History
                                                    Overwatch as incorporated in Texas in January 2019 and to date has raised and invested
                                                    approximately US $2.1 million in technology development, business operations and sales
                                                    and marketing efforts.

                                                                       Proposed Acquisition of Intellectual Property of BioLert, Ltd.
                                                     Overwatch s engineering and product development teams in the United States, BioLert's
                                                     machine learning engineers in Israel and Overwatch s technical consultants in India have
                                                     expended thousands of hours in designing, developing and refining the Overwatch App
                                                       hich is an iOS-based epilepsy monitoring and alerting software application.
                                                     Contemporaneously with those iOS-focused development efforts, Overwatch had entered
                                                     into an agreement to acquire the intellectual property of BioLert, Ltd., an Israeli technology
                                                     co pany which had developed an Android-based epilepsy monitoring, detection and
                                                     alerting software application.
                                                     However, during continued interface with the BioLert technology Overwatch determined
                                                     that its internally developed iOS-based Over atch App (which utilized machine learning
                                                     algorithms designed by BioEye’s engineering tea ) was significantly more accurate than
                                                     Biolert’s original seizure monitoring and alerting software application.
                                                     Overwatch concluded that BioLert’s industry-standard three-device monitoring, detection
                                                     and alerting technology platform (user's phone and smartwatch and a caregiver’s phone)
                                                      hich suffered from synching and connectivity issues was inferior to the Overwatch App’s
                                                     simple and less-prone-to-failure two-device technology platform (user’s smart atch and
                                                     a caregiver’s phone).

                                                     Finally, the BioLert software application did not provide patient seizure information to
                                                     medical professionals through a remotely accessible doctors’ portal which Overwatch had
                                                     deter ined was a prerequisite to successfully marketing an epilepsy solution to the
                                                     medical community.

                                                                                  Beta/User Testin of The Overwatch App
                                                     In October 2019, Over atch commenced beta or user testing of the Overwatch App with
                                                     a select group epilepsy patients in order to further evaluate and refine the accuracy of its
                                                     seizure detection algorithm. Since October 2019, Overwatch has accumulated over 3,000
                                                     hours of remote patient monitoring. Overwatch recently increased its user testing group
                                                     from an initial cohort of five epilepsy patients to fifteen epilepsy patients. As a result of
                                                     this increase, Overwatch anticipates that the aggregate remote patient monitoring data
                                                     that will be collected by the Overwatch App ill be in excess of 7,000 hours over a six-
                                                     month testing period. This is in contrast to the 1,700 hours of remote patient monitoring
                                                     that BioLert had accumulated over the course of its entire history.
                                                                                    Commercial Sales & Marketing Efforts
                                                    Overwatch will make the Overwatch App available to all consumers at the end of February
                                                    2020. Prior to this full co ercial launch, Overwatch started marketing the Overwatch
                                                    App to the consumer segment of the epilepsy community through a pre-launch
                                                    promotional sales campaign which commenced in late November 2019. The pre-launch
                                                    promotional sales campaign requires a subscriber to pay a one-time charge of $199 and
                                                    commit to a three-month subscription of Overwatch’s monitoring and alerting service in
                                                    order to receive an Apple Series 3 Watch (or newer) and an additional three-month
                                                    monitoring and alerting subscription without cost.
                                                     In addition to marketing the Overwatch App to consumers, Overwatch intends to market
                                                     the Overwatch App to medical professionals by offering a monthly subscription plan hich
                                                    gives them access to a doctors' portal that will contain up-to-date patient seizure data.

                                                     (Refer to business description section for more detailed information)




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                                                                             Clinical Study - Covenant Hospital, Lubbock, Texas
                                                      Based on the quantum of remote patient monitoring hours accumulated from its user
                                                      testing group and in order to progress clinical validation of the Overwatch App, Over atch
                                                      is finalising a clinical study with Covenant Hospital (Lubbock, Texas) to conduct an
                                                      independent clinical trial in Covenant s epilepsy monitoring unit of the seizure detection
                                                      accuracy an efficacy of the Overwatch App.
                                                      Key details of the agreed clinical trial protocol is as follows:
                                                      Clinical trial site: Covenant Hospital, Lubbock, Texas, USA
                                                      Clinical trial commencement: - February 2020
                                                      Clinical trial size: 20 - 30 patients
                                                      Clinical trial duration: estimated to be 3 months
                                                     Clinical trial description: To assess the the specificity and sensitivity of a novel seizure¬
                                                     detection mobile software application with a generalized tonic/clonic seizure detection
                                                     algorithm (Motor Seizure Detection Algorithm - mSDA) installed on a wearable device
                                                     (Apple Watch Series 3 or newer) to be worn by the subject. The software will be tested
                                                     using subjects from a patient population in an epilepsy monitoring unit (EMU) undergoing
                                                     video and electroencephalograph (VEEG) observation. The number of generalized
                                                     tonic/clonic seizures detected by the mSDA will be compared with those detected by
                                                     VEEG. We hypothesize 91% overlap between the number of seizures detected by mSDA
                                                     and VEEG.


                                                      BioEye, Ltd.
                                                                                History: Technolo y and Product Development
                                                     BioEye was incorporated in Israel on 10 January 2017. The company's initial technology
                                                     efforts centred on developing an eye-tracking technology which would capture a short
                                                     video of a test subject s eyes, extract ocular biomarkers (e.g. pupil size, symmetry and
                                                     response, blink rate and response, and eye movements) in real-time, and then upload
                                                     those biomarkers to a big-data cloud repository for analysis. BioEye raised and invested
                                                     approximately US$1.1 million in technology development efforts and business operations.
                                                     BioEye s initial product development focus was to utilize its eye-tracking technology to
                                                     analyse ocular biomarkers to predict whether an individual was at risk of developing a
                                                     neurodegenerative disease (e.g. Alzheimer's, Dementia, Parkinson’s Disease). However,
                                                     as a result of its technology collaboration initiative with Overwatch, BioEye decided to
                                                     prioritize development and commercialization efforts on two products that utilize ocular
                                                     biomarker analysis to provide medical personnel, coaches and athletes with evidence of
                                                     concussive brain injury ( Eympact ) and law enforcement authorities with evidence of
                                                     driver drug usage ( Eympair ).
                                                                                                  Eympact
                                                     Eympact is Overwatch’s concussion detection product, which is based on BioEye’s eye¬
                                                     tracking intellectual property and proprietary algorithms. Eympact uses a device coupled
                                                     with a camera to extract and record in real-time several ocular biomarkers (e.g. pupil size
                                                     and symmetry, blink rate, pupillary light reflex, etc.) to identify changes in brain function
                                                     which are indicative of a potential concussive brain injury. Eympact's mobile eye tracking
                                                     and data collection capabilities paired with current concussion clinical standards provides
                                                     medical personnel with a unique and objective mobile side-line tool to identify changes in
                                                     brain function immediately following a sports-related concussive injury and throughout the
                                                     concussion rehabilitation process.


                                                                                                  Eympair
                                                     Eympair is Overwatch’s drug detection product which is also based on BioEye’s eye¬
                                                     tracking intellectual property and proprietary algorithms. Eympair is downloaded onto a
                                                     device which utilizes commercial grade camera lens in order to record and analyse ocular
                                                     biomarkers and responses to distinct stimuli to determine whether a driver has ingested
                                                     marijuana, opioids, amphetamines, stimulates or barbiturates or an excessive amount of


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                                                      alcohol. Eympair is based on decades of university research documenting the effects that
                                                      drugs and alcohol have on ocular bio arkers and it provides police officers with real-time
                                                       information about a driver's drug and alcohol usage.


                                                       A diagram summary setting out the proposed Over atch - BioEye transaction structure
                                                       is attached as Annexure A and a detailed history of Over atch and BioEye from
                                                       inception to date is attached as Annexure B.




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      Describe the entity s10 main                                                                Overwatch App
      business activity or activities, the
                                                      Overwatch markets and sells pursuant to its pre-launch promotional sales campaign
      key features of its business model
                                                      (discussed above) the Overwatch App which is a proprietary and cutting-edge seizure
      (ie how it makes or intends to
                                                      monitoring, detection and alerting software application. Users download the Overwatch
      make a return for investors or
                                                      App to their Apple Series 3 Watch (or newer) and the Overwatch App monitors for
      otherwise achieve its objectives),              abnormal movement which may be indicative of a generalized tonic-clonic epileptic
      the material business risks it
                                                      seizure. When the seizure detection algorithm of the Overwatch App determines that a
      faces, and its existing and
                                                      user's movement is likely a seizure, the Overwatch App causes the Apple Watch to send
      proposed level of operations11                  a message (via text or automated telephone call) to a designated caregiver alerting them
                                                      that a seizure event has occurred along with the GPS coordinates so that the user can be
                                                      located if assistance or medical intervention is required. The Overwatch App is slated for
                                                      commercial release in February 2020 and will be available for download on the Overwatch
                                                      website (www.overwatchdh.com) and on the Apple App Store. Over atch is also
                                                      designing an Android-based seizure monitoring, detecting and alerting solution with an
                                                      anticipated commercial release date of 03 2020 so that the Overwatch App will work on
                                                      both iOS and Android-enabled smartwatches. When the Android version of the
                                                      Over atch App is released, it will be available on the Overwatch website and on the
                                                      Google Play Store.
                                                     The Overwatch App is available to individuals in the epilepsy community through a monthly
                                                     subscription plan which costs US $29.99/month (the Overwatch App can only be activated
                                                     and used after the user has provided valid credit card details for automatic monthly billing).
                                                     This monthly subscription plan entitles the user to the monitoring, detecting and alerting
                                                     functionalities of the Overwatch App, GPS location tracking, a patient portal (online seizure
                                                     diary) and unlimited caregiver designations to receive alerts.
                                                     In addition to selling the Over atch App direct to consumers, Overwatch will also market
                                                     the Overwatch App to the medical community so that doctors can remotely access - via a
                                                     doctors portal - information about their patients seizure activity (frequency, severity and
                                                     duration) in order to adjust anti-epilepsy drug regimens and to tailor more effective
                                                     treatment protocols. Overwatch will charge an average of US $50.00/month per patient
                                                     to medical professionals who subscribe to the doctors' portal (in addition, patients must
                                                     also pay US $29.99/month in order to obtain all the functionalities of the Overwatch App).
                                                     Overwatch strongly believes that the medical co munity will ultimately comprise a
                                                     significant percentage of the company s overall revenue because the doctors’ portal allows
                                                     medical professionals to remotely monitor (on an hourly or daily basis, if warranted) their
                                                     patients with intractable epilepsy in order to rapidly update or adjust treatment options. In
                                                     addition, doctors who subscribe to the Overwatch doctors portal will be eligible to submit
                                                     for monthly insurance reimbursements through applicable current procedure terminology
                                                     (CPT) codes established by the Centers for Medicare and Medicaid Services (CMS is an
                                                     agency of the U.S. government that administers major health care programs)
                                                     Specifically, doctors who subscribe to the Overwatch doctors portal are eligible for
                                                     insurance reimbursement through CPT 99457 (Remote Physiologic Monitoring Treatment
                                                     Management Services) and CPT 99490 (Chronic Care Management) which respectively
                                                     provide an average national monthly reimbursement to doctors of $64.15 per onth per
                                                     patient (for CPT 99457) and an average monthly reimbursement to doctors of $42.00 per
                                                     month per patient (for CPT 99490).
                                                      In 2019, CMS expanded the opportunities for doctors to submit for insurance
                                                      reimbursements under these codes in order to enhance patient access to medical care,
                                                      to promote technological innovation in healthcare delivery and because there is a large
                                                      body of evidence that well-run remote patient monitoring programs reduce emergency
                                                      room and hospital utilization which all help reduce government and private insurer health¬
                                                      care costs. Further information about these insurance reimbursements is provided at the
                                                      end of Annexure B.

                                                     Because the Overwatch App is not intended for use in the diagnosis of disease or other
                                                     conditions, or the cure, mitigation, treatment, or prevention of disease U.S. Food and
                                                     Drug Administration (FDA) approval for use is not required thus avoiding any delays in
                                                     the marketing of the Overwatch App pending regulatory approval.
                                                     The main business risk to Overwatch is competitive threat. However, for the reasons
                                                     outlined in Annexure J, Overwatch believes that its monitoring, detecting and alerting

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                                                        platform is significantly advanced in relation to what other market participants are offering
                                                        that this risk is minimal.
                                                        Overwatch s epilepsy seizure monitoring, detecting and alerting technology is not driven
                                                        purely by commercial considerations. Epilepsy is the fourth most-co mon neurological
                                                        disease orldwide and it impacts a huge nu ber of people directly and indirectly. The
                                                        wellbeing and social benefits of Overwatch should not be under-estimated and some
                                                        further infor ation is contained in Annexure C.
                                                                                                              Eympact
                                                        On 6 January 2020, Overwatch commenced a research study of Eympact ith the Richard
                                                        E Lindner Centre for Athletics at the University of Cincinnati which is expected to progress
                                                        until mid-2020. Overwatch has also initiated discussions with Barrow Neurological
                                                        Institute in Phoenix, Arizona and with Northwell Health Syste s in Manhansset, New York
                                                        to conduct additional multi-month clinical trials to further validate with the medical and
                                                        sports communities Eympact’s ability to provi e players, coaches and doctors with a
                                                        mobile (side line) concussion detection solution.

                                                       The global market for a mobile concussion detection product is enormous. In the United
                                                       States alone, ore than three million sports-related concussions are reported each year.
                                                       The team sport in the United States ith the highest reported incidences of concussive
                                                       brain injuries is football followed by girl’s and women s soccer. There are 14,551 high
                                                       school, college and professional football tea s in America and Overwatch will market
                                                       Eympact to football teams with an annual subscription-based revenue model.
                                                                                                              Eympair
                                                       Eympair ill initially be rolled out to the law enforcement market in the United States where
                                                       law enforcement personnel undertake more than 19 million roadside vehicle stops and
                                                       inspections per year and arrest more than one million drivers for driving while i paired
                                                       from alcohol or narcotics. Ey pair provides law enforcement agencies with objective
                                                       video evidence of changes to ocular biomarkers so that police officers can document
                                                       legally admissible probable cause evidence to uphold arrests and impairment
                                                       determinations thereby minimizing legal challenges and improving conviction rates.


                                                       On 1 October 2019, Overwatch commenced field testing of Eympact with drug recognition
                                                       expert officers from the police department in Mesquite, Texas and it is anticipated that
                                                       additional field testing will commence in early 2020 with other police departments
                                                       throughout Texas. These field tests will co pare the drug usage results obtained by
                                                       Eympair with the results of blood tests conducted by police laboratory testing facilities and
                                                       will validate Ey pair’s ability to detect the presence of illegal drugs or excessive amounts
                                                       of alcohol in potentially impaired drivers.

      Where are the entity s main                       Overwatch's current business activities are solely within the United States. Overwatch’s
      business activity or activities                   main office in Dallas, Texas is where the company s U.S. engineering team, sales and
      conducted?* 12                                    marketing and executive officers are located. As a result of its acquisition of BioEye,
                                                        Overwatch also conducts business activities in Tel Aviv, Israel where additional
                                                        engineering resources and research and develop ent efforts are located.

                                                       Refer to Annexure D
      Attach a group structure diagram
      showing the entity, all child
                                                       In summary, all of the issued and outstanding capital shares of Overwatch will be acquired
      entities and all persons expected
                                                       by Rision.
      to have substantial holdings in the
      entity as at listing.
                                                       Immediately prior to Rision’s acquisition of Overwatch, all of the issued and outstanding
                                                       capital shares of BioEye will be acquired by Overwatch.




         If this application relates to a back door listing, provide this information for the entity and the entity/business being back door listed.
    " If applicable, include information describing the scale of o erations, such as revenue (historical and forecast), number of customers, quantity of products
        sold, number of staff, etc.
    12 If this a plication relates to a bac oor listing, pro ide this infor ation for the business being back door liste .


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      Describe the entity's capital on                  Rision
      issue before the IPO, who owns
                                                        Rision proposes to consolidate its existing 1,382,545,960 FPO shares on a 1 for 28 basis
      it, the consideration paid and
                                                        as part of the RTO transaction, leaving 49,376,641 existing fully paid ordinary shares on
      when it was paid13.
                                                        issue prior to the issue of any new shares as part of the RTO Transaction.
                                                        The Company has a Loan Facility in the su of $690,000 which subject to shareholder
                                                        approval is proposed to convert into 34,500,000 shares at $0.02 per ordinary share on a
                                                        post consolidation basis. Each share comes ith one free attaching option at a strike
                                                        price of $0.02 per ordinary share.
                                                        It is anticipated that a further potential seed funding round of up to approximately
                                                        $450,000 may be undertaken (of which currently $218k banked) to fund the proposed
                                                        transaction costs. This potential additional seed would also be at an effective price of
                                                        $0.02 per share (post consolidation) and may be by way of shares or convertible security.
                                                        Overwatch
                                                          Overwatch (post             % of                                     RNL Shares
                                                         BioEye acquisition)           Overwatch        Total $ paid                               $/RNL share
                                                                                                                               150,112,443
                                                         OW Founder                   26.47%            0                                           $
                                                                                                                               150,112,443
                                                         OWSeed 1                     26.47%             $1,428,571.43                              $0.0095
                                                                                                                               72,463,718
                                                         OW Seed 2                    12.78%            $1,428,571.43                               $0.0197

                                                         OW Facilitators              13.19%            0                      74,775,111           $
                                                         BioEye acquisition           21.09%            $2,357,142             119,563,939          n/a

                                                         TOTAL                        100%                                     567,02 ,654
                                                         Seed 1 investors paid US$1.04m in Feb-March 2019.
                                                         Subs quent seed 2 round of up to US$lm currently underway (approx. US$800k banked)
                                                         Used conversion of $0.70
                                                         US$300,000 bridging loan taken on by Overwatch to be repaid from RTO proceeds as outlined ir
                                                         proposed use of funds.


                                                         Bioeye will be acquired by Overwatch (pre RNL acquiring Overwatch) for deemed value of
                                                         US$1.65m of Overwatch shar s




       Proposed IPO capital raising                     Raise a minimum of $7,000,000 through the issue of at least 350,000,000 Shares (with
       (show separately, the number of                  the ability of the Company to take up to a further $3,000,000 in oversubscriptions) at an
       securities to be issued and the                  issue price of not less than $0.02 ( Offer )
       funds raised at both minimum and
       maximu subscriptions)

       The entity s indicative market                   Minimum Subscription A$7,000,000 @ $0.02: A$21.25 assuming that there are
       capitalisation based on its IPO                  1,062,684,559 fully paid ordinary shares quoted upon completion of the proposed
       price, at both minimum and                       transaction.
       maximu subscriptions
                                                        Over Subscriptions of up to A$3,000,000 @ $0.02: A$24.25m assuming that there are
                                                        1,212,684,559 fully paid ordinary shares quoted upon completion of the proposed
                                                        transaction.
                                                        If the prospectus subscription price can be done at higher than $0.02 per share then these
                                                        indicative market capitalisation estimates would be proportionately higher.




     13 Include this information for any child entities, or if this application relates to a back door listing, provide this information for the business being back door
          listed.


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       The anticipated free float14 of the            Minimum Subscription: -32.9%.
       entity at t e time of listing, at both         Maximum Subscription: -41.2%.
       minimum and maximum
       subscriptions

       The proposed use of funds raised                            Product and Clinical
                                                                                                 $ 400,000             6%       $ 650,000                7%
       by the IPO, at both minimum and                OW App De\elopment
                                                              Marketing and Sales -
         axi u subscriptions                                                                     $ 1,450,000          21%       $ 1,900,000              19%
                                                      OWApp North America
                                                              Product and Clinical
                                                                                                 $ 300,000             4%       $ 470,000                5%
                                                      Eympair Development
                                                                   Marketing and Sales -
                                                                                                 $ 650,000             9%       $ 1,200,000             12%
                                                      Eympair North A erica
                                                                   Product and Clinical
                                                                                                 $ 300,000             4%       $ 500,000                5%
                                                      Eympart Development
                                                                   Marketing and Sales -
                                                                                                 $ 650,000             9%       $ 1,200,000              12%
                                                      Eympart North America
                                                                   Repayment of Loan             $ 430,000             6%       $ 430,000                4%

                                                                   Working capital               $ 1,955,000         28%        $ 2,605,000             26%
                                                                   Costs of the Offer            $ 865,000           12%        $ 1,045,000             10%
                                                                   Total                         $ 7,000,000         100%       $ 10,000,000            100%

                                                     Note: Working capital may include wages, payments to contractors, rent and outgoings, insurance, acco nting,
                                                     audit, legal, other items of a general a inistrative nature.




       If the entity needs to acquire any             N/A.
       material land, plant and
       equipment or intellectual property
       rights or obtain any material
       licences, permits or other
       government authorisations to
       conduct its business at listing,
       please provide details

       Explain why the entity ishes to                The principal purpose of being listed on the ASX is provide the Company with access to
       list on ASX                                    cost effective capital and equity capital markets for commercial launch, along with
                                                      enhancing its public and financial profile. It also provides the avenue to raise potential
                                                      future funding to facilitate accelerated growth of the Company s business, including
                                                      potentially international markets penetration.
                                                      The key stakeholders of Overwatch appreciate the strong ap etite investors have to
                                                      emerging healthcare and technology-based ventures like Overwatch and see the ASX as
                                                      the best option to facilitate Over atch s development plans.
                                                      Two of the proposed non-executive directors (Emmanuel Correia and Clive Barrett) are
                                                      based in Australia and are seed investors in Overwatch.

      Has the entity made an                          No
      application to another exchange
      to list that was withdrawn or
      declined?
      If yes, provide details




     14 As per the definition of free float in Chapter 19 of the ASX Listing Rules.


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     Financial statements

       Is the entity proposing to apply
       under the profit test (listing                      Profit test
       rule 1.2) or assets test (listing               13) Assets test
       rule 1.3)?

       Attach a copy of the accounts                   Please refer to Annexure H. It contains:
       required to be lodged with ASX
       under that test15                                     • Full year 2019 revie ed accounts for Overwatch.
                                                             • Full year 2017, 2018 and 219 reviewed accounts for BioEye.



       Attach a pro-forma statement of                 Pro-forma statement of financial position is currently being finalised (Annexure I).
       financial position showing the
       entity s financial position at both
       minimum and maximum
       subscriptions16




    '5 Financial accounts required to be attached with the application:
    Profit test: attach audited accounts for the last 3 full financial years and, if the entity s last financial year ended more than 6 onths and 75 ays before the
    date of this application, audited or reviewed accounts for the last half year (or longer period if available).


    Assets test: attach audited accounts for the last 2 full financial years and, if the entity's last financial year ende more than 6 months and 75 days before the
    date of this application, audited or reviewed accounts for the last half year (or longer period if available). Also, if the entity has in the 12 months before the
    date of this application acquire , or is proposing in connection with its application for ad ission to acquire, another entity or business that is significant in the
    context of the entity, attach audited accounts for the last 2 full financial years for that other entity or business and, if the last full financial year for that other
    entity or business ended more than 6 months and 75 days before the date of this application, attach audited or reviewed accounts for the last half year (or
    longer period if available) for that other entity or business.


    16 If the entity is applying under the assets test (listing rule 1.3), this should clearly de onstrate the entity s compliance with the minimum $4 million NTA
         requirement at the mini um subscription.



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     Start-ups or entities with no material revenue (other than mining exploration and
     oil and gas exploration entities)
                                                  Overwatch believes it can achieve 10,000 subscribers to the Overwatch App within one year
      Describe the key milestones for
                                                  from access to the ASX prospectus funds and 30,000 subscribers within two years from
      the entity to achieve profitability
                                                  access to the prospectus funds. Additional information around these figures are provided in
      and the likely time frame
                                                  Annexure K. Positive EBITA is forecast between 10,000 to 30,000 subscribers which is
      in olved
                                                  considered very attainable in light of the fact that there are more than 3.4 million individuals
                                                  with epilepsy in the United States and that there are more than 65 million individuals with
                                                  epilepsy worldwide.

                                                  Eympact has commenced a multi-month clinical research study with the University of
                                                  Cincinnati to validate Eympact s ability to detect concussive brain injuries. Because
                                                  Eympact will be used by doctors in concussion clinics and on the side lines by coaches and
                                                  trainers, commercialisation activities for Eympact will not commence until the successful
                                                  conclusion of this clinical study which is estimated to be May or June 2020.

                                                   Eympair has commenced field trials with the esquite, Texas police department to validate
                                                  Eympair s ability to detect whether a driver has ingested illegal drugs. Because Eympair is
                                                  not being used to assist doctors or trainers to identify a medical condition, clinical trials are
                                                  not required. Instead, Overwatch intends to conduct field tests for several months with the
                                                  drug recognition officers of at least two other large metropolitan police departments in order
                                                  to validate Eympair s drug detection accuracy. Upon conclusion of these field tests which
                                                  are estimated to be in April 2020, Over atch ill commence full-scale sales efforts to arket
                                                  Eympair to law enforcement organizations throughout the United States.


                                                  Overwatch commenced sales of the Overwatch App to users in late November 2019
      Describe the key commercial
                                                  pursuant to a pre-launch promotional sales campaign. Two dozen users were signed up to
      contracts the entity will have in
                                                  in the first two weeks of this re-launch pro otional sales campaign which requires a
      place at listing to move towards
                                                  subscriber to pay a one-time charge of $199 and commit to a three-month subscription of
      profitability
                                                  Overwatch s monitoring and alerting service in order to receive an Apple Series 3 Watch (or
                                                  newer) and an additional three- onth onitoring and alerting subscription ithout cost. To
                                                  date, 96 subscribers have signed up to Overwatch s pre-launch promotional sales campaign
                                                  and more than 11,800 visitors have visited the Overwatch website (www.overwatchdh.com)
                                                  since the website’s launch in late November 2019.

                                                  Funds from the prospectus will be substantially used for marketing and sales efforts directed
                                                  to the epilepsy community (patients and doctors), to complete clinical research studies for
                                                  Eympact, to commence additional field trials for Eympair and to commence sales and
                                                  marketing efforts related to those two products.




     Mining exploration and oil and gas exploration entities

      Describe the entity’s                       N/A
      mining/petroleum tenement(s),
      where they are located, what
      exploration has been conducted
      to date, and the nature of the
      entity's interest in the
      tenement(s)




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     Entities with material intellectual property assets (such as technology and life
     science entities)

      Describe the current state of                 Overwatch Intellectual Property
      development of the entity's
                                                   Overwatch is the applicant/assignee of four provisional patent applications filed with the
      intellectual property and what
                                                   United States Patent and Trademark Office (USPTO) as ore particularly set forth below.
      funds have been expended on
                                                   Overwatch has expended US $2.1m to date on development of its intellectual property.
      development to date
                                                   Title: SYSTEM AND METHOD FOR PROVIDING AN INDIVIDUALIZED ASSESSMENT
                                                   OF HEALTH-RELATED DATA
                                                   USPTO Application o.: 62/843,525
                                                   Filing Date: 5 May 2019

                                                   Title: SYSTEM AND METHOD FOR OPTIMIZING A PLURALITY OF DEVICES FOR AN
                                                   INDIVIDUALIZED ASSESSMENT OF HEALTH-RELATED DATA
                                                   USPTO Application No.: 62/843,526
                                                   Filing Date: 5 May 2019

                                                   Title: SENSOR AND METHOD FOR PROVIDING SENSORS FOR AN INDIVIDUALIZED
                                                   ASSESSMENT OF HEALTH-RELATED DATA
                                                   USPTO Application No.: 62/843,527
                                                   Filing Date: 5 May 2019

                                                   Title: SYSTEM AND METHOD FOR ENERGY MANAGEMENT FOR A PLURALITY OF
                                                   DEVICES FOR AN INDIVIDUALIZED ASSESS ENT OF HEALTH-RELATED DATA
                                                   USPTO Application No.: 62/843,528
                                                   Filing Date: 5 May 2019


                                                   BioEye Intellectual Property
                                                   BioEye is the applicant/assignee of three PCT provisional patent applications filed with the
                                                   Israeli Patent Office as more particularly set forth below. BioEye has expended US $1.1
                                                   million to date on development of its intellectual property.

                                                   Title: A METHOD FOR PUPIL DETECTION FOR COGNITIVE MONITORING, ANALYSIS,
                                                   AND BIOFEEDBACK-BASED TREATMENT AND TRAINING
                                                   PCT Application No.: WO/2018/142388
                                                   Filing Date: December 25, 2017

                                                   Title: A METHOD AND SYSTEM FOR EARLY DETECTION OF NEURODEGENERATION
                                                   USING PROGRESSIVE TRACKI G OF EYE-MARKERS
                                                   PCT Application No.: WO/2019/092722
                                                   Filing Date: November 11, 2018

                                                   Title: A METHOD FOR PUPIL DETECTION FOR COGNITIVE MONITORING, ANALYSIS,
                                                   AND BIOFEEDBACK-BASED TREATMENT AND TRAINING
                                                   U.S. Patent Application No: 16/482,589
                                                   Filing Date: Se tember 15, 2019



      Describe how and to what                     The core technologies underlying the three products being developed and/or
      stage the IPO will advance the               commercialised by Overwatch are protected by the provisional patent ap lications that
      development of the entity s                  have been filed by Overwatch and BioEye. Funds from the RTO Transaction will enable
      intellectual property                        Overwatch to file additional provisional patent applications to strengthen and broaden its
                                                   current intellectual property portfolio, to protect advancements of its core technologies and
                                                   to protect new technologies developed in the future by Overwatch's engineering teams.




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     Additional information for back door listings

      Describe the consideration                   The transaction will be sequenced as follows:
      being paid by the entity for the
                                                  The shareholders of BioEye (the "BioEye Shareholders ) will transfer all of their issued
      entity/business being back door
                                                  and outstanding shares in BioEye to Overwatch in consideration for being issued shares in
      listed
      Note: if the entity/business being back     Overwatch. The BioEye/Overwatch transaction will close immediately prior to the closing of
      door listed a classified asset", the        the Rision/Overwatch transaction.
      consideration for the acquisition must
      be restricted securities                    The shareholders of Overwatch, which will now include the former BioEye Shareholders,
                                                  (collectively, the Overwatch Shareholders ) will then transfer all of their issued and
                                                  outstanding capital shares in Over atch to the Company in consi eration for the issuance
                                                  of 567,027,654 Company common shares (the “Consideration Shares ) to the Overwatch
                                                  Shareholders based upon their respective pro rata ownership in Overwatch.
                                                   Proportionately, 447.463 of the Consideration Shares are for Overwatch exclusive of
                                                   BioEye and the remaining 119.565m Consideration Shares are for BioEye.
                                                   In addition, the Company will (subject to the attainment of certain performance milestones
                                                   more particularly set forth in Annexure E) issue up to 250,000,000 shares to Terry Fokas
                                                   (and/or his nominee/s that are engaged as managers or employees of the Company)
                                                   ( Performance Shares ).

      Describe the amount of                      From February 2019 through December 2019, Overwatch raised an aggregate of US $1.7m
      investment by the current                   million in investment financing. In January 2020 Overwatch raised a further US$400,000 in
      owners in the entity/business               financing and is currently raising the balance of a maximum amount of US $1 million in
      being back door listed                      investment financing which is expected to close in February 2020.
                                                  From June 2017 through December 2019, BioEye has raised US $1.1 million in financing.



      What percentage of the issued                Minimum Subscription: 53.4%
      capital of the entity are the
                                                   Maximum Subscription: 46.8%
      current owners of the
      entity/business being back door             This assumes $0.02 prospectus raise. Would be less if prospectus is done at higher price
      listed likely to have at the time           as the vend is fixed in shares, subject to $0.02 prospectus minimum price.
      the entity is re-admitted to the
      official list, at both minimum
      and maximum subscriptions?

      Will any of the securities in the           Yes, the Company anticipates that the majority of the Consideration Shares and all of the
      entity to be acqu red by the                Performance Shares will be subject to a 24-month escrow period.
      current owners of the
      entity/business being back door
      listed be restricted securities ?           Some minority Overwatch seed investors may be unrelated seed investors and therefore
      If yes, please provide details              subject to cash relief formula-based escrow of their shares for 12 months from date of their
                                                  investment (~Feb/March 2019).


                                                  Some minority BioEye seed investors may be unrelated seed investors and therefore
                                                  subject to cash relief formula-based escrow of their shares for 12 months from date of their
                                                  investment.




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      Will the current owners of the               Yes.
      entity/business being back door
                                                   Terry Fokas is the proposed Chief Executive Officer and Executive Director and will receive
      listed have any ongoing
                                                   150m (26.5%) of the 567m RTO vend shares that are attributable to Overwatch.
      involvement in the board or
      management of the entity after
      it is re-admitted to the official
                                                    Emmanuel Correia is a proposed Non-Executive Director and will hold ~36.7m shares at
      list?
                                                    relisting. This is a combination of holding Overwatch founder shares, Over atch convertible
      If yes, please provide details
                                                    notes, RNL convertible loans, BioEye shares and one third of the 23.75m Transaction
                                                   Success Fee.



                                                   Clive Barrett is a proposed Non-Executive Director and will hold ~130m shares at relisting.
                                                   This is a co bination of holding Overwatch founder shares, Overwatch convertible notes,
                                                   RNL convertible loans, BioEye shares and one third of the 23.75m Transaction Success
                                                    Fee.




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